                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                  3:04-cr-00271-RJC

USA,                                            )
                                                )
                  Plaintiff,                    )             ORDER
                                                )
       vs.                                      )
                                                )
ILA LITTLE HOWARD,                              )
             Defendant.                         )



       THIS MATTER is before the Court upon letters of the defendant pro se for deferral of

her payments until she is placed at federal facility with greater capacity to employ inmates. (Doc.

No. 513).

       Apparently, the defendant is enrolled in the Inmate Financial Responsibility Program

(“IFRP”). Participation in the IFRP is voluntary, and an inmate becomes eligible for certain

benefits by her involvement in the program. 28 C.F.R. § 545.11 et seq. A team at a prison

facility considers an inmate’s financial information, monitors the amount of money in her trust

account, and determines the required monthly payment for participation in the program.

       Here, the Court ordered that payment of the defendant’s criminal monetary penalties was

due immediately and recommended participation in the IFRP. (Doc. No. 353: Judgment at 2, 5).

In the motion, the defendant requests that the Court set a payment plan of $25 per quarter

because employment is hard to gain where she is currently incarcerated. Assessment of the

defendant’s financial situation is most properly left to the discretion of the Bureau of Prisons.

The defendant has the choice of whether to remain in the program, or to challenge its execution

through administrative remedies.


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       IT IS, THEREFORE, ORDERED, that the defendant’s request to defer payments (Doc.

No. 513) is DENIED.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation Office.

                                                       Signed: January 15, 2013




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